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                IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF OHIO

   STATE OF ARIZONA; STATE OF                  :
   MONTANA; and STATE OF OHIO,                 :
             Plaintiffs,                       :     Case No. 3:21-cv-314
                                               :
   v.
                                               :     Judge Michael J. Newman
   JOSEPH R. BIDEN, et al.,                    :
             Defendants.                       :
                                               :
                                               :
                                               :


               PLAINTIFFS’ OPPOSITION TO ADMINISTRATIVE STAY



       The States of Ohio, Arizona, and Montana oppose DHS’s motion for an administrative stay.

There are three principal reasons why.

       First, while DHS says it needs a couple of weeks to review its options, it has no valid

excuse for having been caught flatfooted. The States brought this case in November, meaning

DHS had four months to prepare for a preliminary injunction. Further, the Southern District of

Texas had previously enjoined the Permanent Guidance’s predecessor policy, see Texas v. United

States, — F. Supp.3d —, 2021 WL 3683913, at *2 (S.D. Tex., Sept. 15, 2021), and a challenge to

the Permanent Guidance has been pending in the same court for months, see Op., R.44,

PageID#1080. DHS could not have been, or at least should not have been, unprepared for an

adverse decision.

       Second, DHS does not need two weeks to wind down its illegal conduct. All the Court’s

opinion does is enjoin DHS from imposing non-statutory barriers in the way of ICE officials who

would otherwise arrest criminal aliens under 8 U.S.C. §1226(c)(1) or remove aliens with final

orders of removal under 8 U.S.C. §1231(a). DHS responded to an injunction of an earlier policy

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with an email directing a return to normal operations. R.4-4, PageID#149 (“Accordingly, until

further notice, in order to comply with the TRO, U.S. Immigration and Customs Enforcement

employees should return to normal removal operations as prior to the issuance of the January

20, 2021 memorandum.”) It can do the same thing here.

       Finally, DHS is estopped from arguing that the Court’s injunction causes it any hardship.

In its briefing before this Court, it represented that an injunction would not meaningfully affect its

operations. R.29, PageID#708. It cannot now claim otherwise.




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                                  Respectfully submitted,

                                  DAVE YOST (0056290)
                                  Ohio Attorney General

                                  /s/ Benjamin M. Flowers
                                  BENJAMIN M. FLOWERS* (0095284)
                                  Solicitor General
                                    *Trial Attorney
                                  MAY MAILMAN (pro hac vice)
                                  Deputy Solicitor General
                                  30 East Broad Street, 17th Floor
                                  6l4-466-8980
                                  614-466-5087 fax
                                  benjamin.flowers@ohioattorneygeneral.gov

                                  Counsel for Plaintiff State of Ohio

                                  MARK BRNOVICH
                                  Arizona Attorney General

                                  Anthony R. Napolitano (pro hac vice)
                                  Assistant Attorney General
                                  2005 N. Central Ave
                                  Phoenix, AZ 85004-1592
                                  Phone: (602) 542-8958
                                  Anthony.Napolitano@azag.gov
                                  ACL@azag.gov

                                  Counsel for Plaintiff State of Arizona

                                  AUSTIN KNUDSEN
                                  Montana Attorney General

                                  Christian B. Corrigan (pro hac vice)
                                  Assistant Solicitor General
                                  215 N Sanders St.
                                  Helena, MT 59601
                                  Phone: (406)-444-2026
                                  Christian.Corrigan@mt.gov

                                  Counsel for Plaintiff State of Montana




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2022, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties for whom counsel has entered an appearance by

operation of the Court’s electronic filing system.


                                          /s/ Benjamin Flowers
                                          BENJAMIN FLOWERS (0095284)
                                          Solicitor General




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